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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 19-22603-CIV-MORENO
SHERRY MOSLEY,

Plaintiff,

VS.

CARNIVAL CORP., a foreign corporation,
d/b/a CARNIVAL CRUISE LINES,

Defendant.
/

 

SCHEDULING ORDER SETTING TRIAL

THIS COURT issues this order in accordance with Local Rule 16.1. The parties shall

comply with the following deadlines.

 

Selection of a mediator to be completed no later than: September 26, 2019

 

Deadline to join additional parties or to amend pleadings: October 10, 2019

 

In the unlikely event that experts are needed, disclosure of experts’
names and their reports are required at least 30 days before the

discovery deadline. January 15, 2020

Deadline to complete all discovery (including expert discovery):

 

 

 

 

 

Deadline for the filing of all motions for summary judgment: January 29, 2020
Deadtine for Tio pretrial motions (including motions in limine March 13, 2020
Mediation to be completed no later than: March 13, 2020
Plaintiff's witness and exhibit lists: April 22, 2020
Defendant's witness and exhibit lists: April 24, 2020

 

 

 

Pretrial stipulations to be filed by: April 28, 2020

 

 
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Calendar Call at 2:00 p.m., Wilkie D. Ferguson U.S. Courthouse, May 5. 2020
Courtroom 13-3, 400 North Miami Avenue, Miami, FL 33128: ay >»
Trial set for the two-week period commencing: May 11, 2020

 

 

 

Pursuant to Federal Rule of Civil Procedure 40, this action is at issue. It is
ADJUDGED that the parties shall comply with the following trial management procedures:

(1) Pretrial Conference — The Pretrial Conference allowed under Federal Rule of
Civil Procedure 16(a) and required by Local Rule 16.1.C, shall take place immediately following
Calendar Call only if requested by the parties in advance. If the parties do not request a pretrial
conference in advance of Calendar Call then no pretrial conference will be held.

(2) Plaintiff's Witness and Exhibit Lists — Plaintiff shall electronically upload onto
the case docket a copy of Plaintiff's Witness List and a copy of Plaintiff's Exhibit List no later than
Wednesday, April 22, 2020, at 5:00 p.m.

(a) Plaintiff's Witness List - Plaintiffs Witness List shall include all the witnesses,
both lay and expert, that Plaintiff intends to call at trial. Plaintiffs Witness List
shall briefly describe the nature of each witness’ testimony and whether such
witnesses will be testifying live or by deposition. Witnesses omitted from the list
will not be allowed at trial.

(b) Plaintiff's Exhibit List - Plaintiff's Exhibit List shall include the exhibits that
Plaintiff intends to use at trial. Plaintiffs Exhibit List shall in consecutively
numbered paragraphs adequately describe the nature of each document listed. The
actual exhibits shall be pre-marked with corresponding numbers (e.g. Plaintiff's
Exhibit #1, Plaintiff's Exhibit #2, efc.) which numbers they will retain through the
end of trial. The exhibit list shall refer to specific items and shall not include
blanket statements such as all exhibits produced during depositions or Plaintiff
reserves the use of any other relevant evidence. Exhibits omitted from the list will
not be allowed at trial.

(3) Defendant's Witness and Exhibit Lists — Defendant shall electronically upload
onto the case docket a copy of Defendant's Witness List and a copy of Defendant's Exhibit List no
later than Friday, April 24, 2020, at 5:00 p.m.
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(a) Defendant's Witness List - Defendant's Witness List shall include only those
additional lay and expert witnesses not included on Plaintiff's Witness List.
Witnesses listed by Plaintiff will be available for both parties and should not be re-
listed on Defendant's Witness List. Defendant's Witness List shall briefly describe
the nature of each additional witness’ testimony and whether such witnesses will
be testifying live or by deposition. Witnesses omitted from Defendant's Witness
List and not listed on Plaintiff's Witness List will not be allowed at trial.

(b) Defendant's Exhibit List - Defendant's Exhibit List shall include only those
additional exhibits that Defendant wishes to introduce at trial which are not on
Plaintiffs Exhibit List. Defendant's Exhibit List shall in consecutively numbered
paragraphs adequately describe the nature of each document listed. The actual
exhibits shall be pre-marked with corresponding numbers (e.g. Defendant's Exhibit
#1, Defendant's Exhibit #2, etc.) which numbers they will retain through the end of
trial. The exhibit list shall refer to specific items and shall not include blanket
statements such as all exhibits produced during depositions or Defendant reserves
the use of any other relevant evidence. Exhibits omitted from Defendant's Exhibit
List and not listed on Plaintiff's Exhibit List will not be allowed at trial.

(4) Pretrial Stipulation — Pursuant to Local Rule 16.1.E, the parties shall file a Pretrial
Stipulation no later than Tuesday, April 28, 2020. The Pretrial Stipulation shall conform to the
requirements of Local Rule 16.1.E. The parties shall attach to the Pretrial Stipulation copies of
the witness and exhibit lists along with any objections allowed under Local Rule 16.1.E.9. A
pending motion for continuance shall not stay the requirement for filing of a Joint Pretrial
Stipulation.

(5) Continuance / Settlement — To the extent that the parties request modification of any date
in this Court’s Scheduling Order, the parties shall file either a Motion to Continue Trial or a Motion
to Continue Pretrial Deadlines. A stipulation of settlement must also be in writing. See Local
Rule 7.1.4. Unless the Court grants the motion in writing, counsel must appear at the Calendar
Call.

(6) Motions — When submitting motions, the parties shall submit a proposed order only for

those motions listed in Local Rule 7.1.A.1.
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(7) Depositions — Depositions are limited to seven hours during one day absent court order or
agreement of the parties and any affected non-party witnesses. See Local Rule 26.1K.

(8) Summary Judgment — The practice of filing multiple motions for partial summary
judgment which are collectively intended to dispose of the case (as opposed to one comprehensive
motion for summary judgment) in order to evade memorandum page-limitations is specifically
prohibited. See Administrative Order 97-06 (S.D. Fla. Jan. 31, 1997) (amending Local Rule
7.1.C.2).

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DONE AND ORDERED in Chambers at Miami, Florida, this yy of September 2019.

 

FEDERI < REN
UNITED STATES DISTRICT JUDGE

Copies furnished to:

Counsel of Record
